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FEDERAL DEFENDER SERVICES
  OF WISCONSIN, INC.
LEGAL COUNSEL

                                                                                  22 East Mifflin Street
Craig W. Albee, Federal Defender                                                            Suite 1000
Krista A. Halla-Valdes, First Assistant                                     Madison, Wisconsin 53703

Joseph A. Bugni, Madison Supervisor                                            Telephone 608-260-9900
John W. Campion                                                                 Facsimile 608-260-9901
Anderson M. Gansner
Gabriela A. Leija
Ronnie V. Murray
Tom E. Phillip
Joshua D. Uller
Kelly A. Welsh

                                                  May 3, 2021

Honorable Stephen L. Crocker
United States Magistrate Judge
120 North Henry Street
Madison, Wisconsin 53703

         Re:       United States v. Steven Robeson
                   Case No. 21-cr-24-wmc

Dear Judge Crocker:

      In anticipation of tomorrow’s hearing, the defense submits the following letter on
where things stand in this case.

      First, the defense will not file any pretrial motions. I have discussed this with Mr.
Robeson and he concurs.

        Second, the defense (if this does go to trial) will raise the public authority or
estoppel defense. They are interrelated, and it’s too soon to know precisely where this
case fits. I have spoken to AUSA Elizabeth Altman and she agreed to allow me to file the
Rule 12.3 notice tomorrow.

       Third, in anticipation of raising that defense at trial this is where things stand. Mr.
Robeson possessed the firearm charged in the indictment on September 26. On that day,
he had authorization from the FBI to otherwise engage in illegal conduct. The parties
dispute how the form must be read and whether any behavior beyond its parameters
nullify it—that’s for another day. The parties have, however, discussed the discovery that
would speak to Robeson’s understanding and pattern of dealing with the FBI and the
authorizations to engage in illegal conduct. The government is currently gathering that



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discovery. There could be a lot of discovery (upwards of 100,000 pages) or it could be a
manageable amount—no one knows yet.

        Understanding what could be coming down the pipeline the parties would like to
set a trial date. Mr. Robeson, in particular, would like to put this past him. If the discovery
comes and it’s unmanageable, the parties would quickly ask to strike that date and set a
status. If it is manageable, we will proceed with trial on the date set. But it’s best (in the
parties’ view) to not look for trouble. Set a date and worry about the volume of discovery
when we get it.

        Fourth, the defense does intend to file a motion to dissolve the protective order
but other matters in the federal defender’s office have monopolized my time. I will try to
file that brief in two weeks.

       Thank you for your attention to this matter.

                                           Sincerely,

                                           /s/ Joseph A. Bugni

                                           Joseph A. Bugni
                                           Associate Federal Defender
